On December 31, 1996, appellee, Deborah Ann Taylor, pled guilty to one count of rape, in violation of R.C. 2907.02, and two counts of sexual battery, in violation of R.C. 2907.03. On January 3, 1997, the Lake County Court of Common Pleas sentenced appellee to an indefinite term of incarceration of ten to twenty-five years on the rape count, and a definite term of incarceration of two years for each count of sexual battery. The sexual battery counts were ordered to be served concurrent to each other, and consecutive to the rape count. Having pleaded guilty to a sexually oriented offense, appellee became subject to a sexual predator hearing under Ohio's version of Megan's Law, newly amended R.C. Chapter 2950.
By judgment entry filed July 1, 1997, the trial court,sua sponte, dismissed the proceedings for adjudicating appellee as a sexual predator, holding that Ohio's version of Megan's Law was unconstitutional as applied to appellee. Appellant appealed, and, pursuant to this court's decision in State v.Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, the judgment of the trial court is affirmed.
                                    -------------------------- JUDGE WILLIAM M. O'NEILL
FORD, P.J., NADER, J., concur.
HON. DONALD R. FORD, P.J., HON. ROBERT A. NADER, J., HON. WILLIAM M. O'NEILL, J., JUDGES.